                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   DECATUR DIVISION


                                                      )
    In re                                             )     Chapter 12
                                                      )
    JEREMY ANDREW BRAY,                               )     Case No. 18-82940-CRJ12
    Debtor(s)                                         )
                                                      )     BANKRUPTCY JUDGE
                                                      )     CLIFTON R JESSUP




                      REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
                FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

   PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

   Bank (Care Credit [Last four digit of account:1081]), a creditor in the above-captioned chapter 12 case,

   requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the Bankruptcy

   Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.

   (as amended, the Bankruptcy Code), that all notices given or required to be given and all papers served or

   required to be served in this case be also given to and served, whether electronically or otherwise, on:


                Synchrony Bank
                c/o PRA Receivables Management, LLC
                PO Box 41021
                Norfolk, VA 23541
                Telephone: (877) 829-8298
                Facsimile: (757) 351-3257
                E-mail: claims@recoverycorp.com


   Dated: Norfolk, Virginia
   October 3, 2018
                                                          By: /s/ Valerie Smith
                                                          Valerie Smith
                                                          c/o PRA Receivables Management, LLC
                                                          Senior Manager
                                                          PO Box 41021
                                                          Norfolk, VA 23541
                                                          (877) 829-8298

   Assignee Creditor: Care Credit [Last four digit of account:1081]




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                                     CERTIFICATE OF SERVICE

   I hereby certify that on October 3, 2018, a copy of the foregoing Request For Service of Notices was

   served on the following registered ECF participants, electronically through the court's ECF System at the

   email address registered with the court:


   TAZEWELL SHEPARD
   Counsel for JEREMY ANDREW BRAY


   US Trustee




                                                       By: /s/ Valerie Smith




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